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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS
WESTERN DIVISION

LITTLE ROCK SCHOOL DISTRICT,

et al. PLAINTIFFS

V. No. 4:82-cv-866-DPM

PULASKI COUNTY SPECIAL

SCHOOL DISTRICT, et al. DEFENDANTS

LORENE JOSHUA, et al. INTERVENORS
ORDER

The Court appreciates and attaches Ms. Powell’s report on JNPSD’s
proposed Facilities Master Plan and whether it’s consistent with Plan 2000.

So Ordered.

 

D.P. Marshall fr.
United States District Judge

 
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December 28, 2015

The Honorable D. Price Marshall. Jr.
Judge, United States District Court
Eastern District of Arkansas

600 West Capitol, Room D258
Little Rock, AR 72202-3325

Re: Jacksonville-North Pulaski School District 2016 Facilities Master Plan
Your Honor:

Per your directive to me at the Status Hearing on December 16, 2015, to provide some insight as
to whether the Jacksonville-North Pulaski School District (JINPSD) 2016 Facilities Master Plan
is in compliance with Pulaski County Special School District Plan 2000 as it relates to Section H
- Facilities, 1am providing the following observations.

The JNPSD did not exist as a separate district when Plan 2000 was developed. Nor is the
JNPSD mentioned in the amended version of the Facilities section in the PCSSD’s Plan 2000
approved by the Court earlier this year. The Facilities Master Plan does not reference Plan 2000,
nor does it outline how it will comply with the desegregation aspects of that plan.

Plan 2000 states: “The PCSSD shall prepare, with the help of consultants, as necessary, a plan so
that existing school facilities are clean, safe, attractive and equal.” [School Facilities Section H.
(1)] The Plan further states: “The PCSSD shall notify the Joshua Intervenors of plans for
constructing new schools and for adding capacity to existing schools. The notice shall identify
the capacity of the proposed facility, the area of the system to be served, and the projected impact
on the racial make-up of the students in each school expected to be affected by the new
construction. The Joshua Intervenors shall have a period of 14 days in which to provide input
concerning each proposal.” [Section H. (3)}

Despite the lack of any references to Plan 2000 in the JNPSD’s Facilities Master Plan, I could
find no obvious negative effects on desegregation issues. According to the facilities plan, all of
the new district’s schools are scheduled for some improvements, from new construction,
renovations, upgrades, and additions, to major replacement of plumbing and technology. The
plan also includes time lines for completion of each project. Unless every school is replaced at
the same time, there is no way for the schools to start out being equal, but they can be “clean,
safe, and attractive.”

The new district’s proposed master plan deals exclusively with: new construction, repurposing some
buildings, and upgrades/additions to current structures. The district properly notified Joshua of the
plans for new construction, however I could find no references in the master plan related to racial
impact. Since all of the district’s secondary students will be attending the same schools, there is no
apparent adverse affect on any one race at the secondary level.

 
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According to the Office of Desegregation Monitoring’s “2013-14 Enrollment and Racial
Composition of the Pulaski County Special School District”, combining two elementary schools
Arnold Drive (50% black) and Tolleson (36% black) would have no real impact on the racial make-
up of the students in the new school The existing buildings are not that far apart. The remaining
elementary schools (Bayou Meto, Dupree, Murell Taylor, and Pinewood), which are not scheduled
for replacement or major renovations, are not expected to notice any racial impact. All of the JINPSD
schools could, however, be affected by the loss of some PCSSD students. Whether those losses will
aifect the racial composition of each school remains to be seen..

The biggest problem will be funding the various projects. Without the passage of a proposed
millage, the plan may be moot. The district does not have a “Plan B” and, without one, the best the
district can hope for is repairing, upgrading, and maintaining the existing facilities with its current
funding. Because all middle school students will begin the new school year in what will be the
former North Pulaski High building, they will be big winners despite the millage outcome. With its
recent upgrades and renovations, NPHS is arguably the nicest facility in the new district

Sincerely.

Margie L. Powell
Court Expert

 
